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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5202                                                  September Term, 2024
                                                                           1:25-cv-01248-RC
                                                        Filed On: June 18, 2025
Learning Resources, Inc. and hand2mind,
Inc.,

              Appellees

       v.

Donald J. Trump, President of the United
States, in his official capacity, et al.,

              Appellants


       BEFORE:        Katsas, Rao, and Walker, Circuit Judges

                                          ORDER

        Upon consideration of the motion to expedite the appeal; the court’s order filed
June 11, 2025; appellees’ motion to govern future proceedings, appellants’ response
thereto combined with a motion to govern future proceedings, and appellees’ reply;
appellants’ letter filed June 17, 2025; and appellees’ notice of the filing of a petition for
writ of certiorari before judgment, it is

       ORDERED that this appeal be expedited. See 28 U.S.C. § 1657(a). The
following briefing schedule will apply in this case:

       Appellants’ Brief                                   June 27, 2025

       Appendix                                            June 27, 2025

       Appellees’ Brief                                    July 23, 2025

       Appellants’ Reply Brief                             August 8, 2025

       The Clerk is directed to calendar this case for argument on the first appropriate
date following the conclusion of briefing. The parties will be informed later of the date of
oral argument and the composition of the merits panel.
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                 United States Court of Appeals
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                                     ____________
No. 25-5202                                                September Term, 2024

       Appellants should raise all issues and arguments in the opening brief. The court
ordinarily will not consider issues and arguments raised for the first time in the reply
brief.

       To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
statutes with widely recognized initials, briefs should not contain acronyms that are not
widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43-44
(2024); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

        Parties are strongly encouraged to hand deliver the paper copies of their briefs to
the Clerk's office on the date due. Filing by mail may delay the processing of the brief.
Additionally, counsel are reminded that if filing by mail, they must use a class of mail
that is at least as expeditious as first-class mail. See Fed. R. App. P. 25(a). All briefs
and appendices must contain the date that the case is scheduled for oral argument at
the top of the cover. See D.C. Cir. Rule 28(a)(8).

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk




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